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State Officials Enhance Law Enforcement
Presence as Precautionary Measure
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 Agency: North Dakota National Guard

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 BISMARCK, N.D. - Gov. Jack Dalrymple, North Dakota Highway Patrol (NDHP) Col. Mike
 Gerhart, Maj. Gen. Al Dohrmann and Morton County Sheriff Kyle Kirchmeier today held a news
 conference to discuss an enhanced law enforcement presence for the weekend as a
 precautionary measure to ensure the safety of the public and those protesting the
 construction of the Dakota Access Pipeline south of Mandan. Officials outlined plans currently
 underway for providing additional officers in the Bismarck-Mandan area and enhanced patrols
 in Morton County.

 Dalrymple discussed his plans to call on a small number of North Dakota National Guard
 personnel to support law enforcement and augment public safety efforts. The Guard members
 will serve in administrative capacities and assist in providing security at traffic information
 points. The Governor also placed additional Guardsmen on standby alert in the event they are
 needed to assist with response efforts.

 "Because of the increased and prolonged need for law enforcement resources, I have asked
 General Dohrmann to make available some North Dakota National Guard personnel to support
 law enforcement and augment their public safety efforts," said Dalrymple. "By helping in
 these support roles, we can free up more officers for enhanced patrols and calls for
 assistance. The Guard members will provide valuable personnel, resources and equipment
 necessary to support local, tribal and state officials."

 Beginning today, the traffic control point on 1806 will be converted to a traffic information
 point, advising motorists of potential hazards, but not requiring motorists to detour. The
 assistance provided will allow law enforcement officers the ability to adequately respond to
 calls for service, while at the same time, increasing their level of traffic patrols south of
 Mandan.
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"Several citizens have voiced their concerns regarding the level of service available to them
and this action will provide additional resources to the traffic information point freeing up
officers to address those concerns," said Gerhart.

"When called upon by the Governor, we are prepared to assist law enforcement officers as
needed," said Dohrmann.

"I appreciate the action taken by the Governor," said Kirchmeier. "It will provide additional
resources to our law enforcement in the area. Our officers are doing a great job out there
responding to numerous incidents, and our focus remains on protecting the citizens of Morton
County, ensuring traffic safety and protecting the rights of the protestors."

During the news conference, Dalrymple thanked Gerhart, Kirchmeier, Dohrmann, the NDHP,
Morton County Sheriff's Department and all of the sheriffs, deputies, police chiefs and law
enforcement professionals from communities and counties across the state for their
outstanding work in responding to increased activity and for their dedication to public safety.

Dalrymple also called on everyone who demonstrates against the Dakota Access Pipeline
project to do so in a respectful and lawful way.

"Public safety has always been and continues to be paramount," said Dalrymple. "We are also
committed to protecting the Constitutional rights of those who want to assemble peacefully
and lawfully. At the same time we must make sure that peace is maintained this weekend."

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